Case 3:11-cv-06391-SI Document 114-1 Filed 06/14/12 Page 1 of 6
          Case 3:11-cv-06391-SI Document 114-1 Filed 06/14/12 Page 2 of 6



 1          I, Peter Root, declare:

 2          1.      I am an attorney admitted to practice law in the State of California. I am a partner

 3   in the law firm of Kaye Scholer LLP and counsel for Sequenom, Inc. (“Sequenom”), the

 4   defendant and counterclaim-plaintiff in the above-captioned action. I have personal knowledge of

 5   the facts stated in this declaration, and if called as a witness I could and would testify competently

 6   thereto. This declaration is made in support of Sequenom’s Reply in support of Sequenom’s

 7   Motion For Preliminary Injunction filed concurrently herewith.

 8          2.      Attached to this declaration are excerpts of depositions taken by counsel for

 9   Sequenom of Drs. Stuelpnagel, Sullivan, Bischoff, and Fearon, each of whom submitted

10   declarations accompanying Ariosa’s opposition to Sequenom’s motion for preliminary injunction,

11   as well as certain exhibits to the depositions, and excerpts of the deposition taken by counsel for

12   Sequenom of Ariosa’s Chief Scientific Officer, Dr. Oliphant, as detailed below. In the exhibits

13   enumerated below, particular text to which we respectfully direct the Court’s attention is enclosed

14   in brackets.

15          3.      Attached as Exhibit 1 to this declaration is a true and correct copy of the cover

16   page and selected pages of the deposition of Dr. John Stuelpnagel taken in the above-captioned

17   action on May 23, 2012: Stuelpnagel Dep. at 50:18-21; 51:2-6; 62:4-15; 74:19-22; 24-25; 75:4-9;

18   93:16-22; 100:25-101:5; 101:24-102:2; 105:19-25; 106: 2-9; 107:2-3; 138:12-20; 168:11-15;

19   169:11-14; 176:18-177:9; 177:17-178:12; 181:15-18; 182:9-11; 193:12-18; 194:11-14; 214:8-15;

20   and 243:15-23. Ariosa has designated this transcript as “HIGHLY CONFIDENTIAL --

21   OUTSIDE ATTORNEYS’ EYES ONLY” under the Stipulated Protective Order. [FILED

22   UNDER SEAL]

23          4.      Attached as Exhibit 2 to this declaration is a true and correct copy of the cover

24   page and selected excerpts of the deposition of Dr. Arnold Oliphant, Ariosa’s Chief Scientific

25   Officer taken in the above-captioned action on May 25, 2012: Oliphant Dep. at 31:18-22; 35:22-

26   36:10; 41:23-43:5; 42:8-20; 73:12-75:3; 76:20-77:23; 79:2-7; 81:3-11; 83:11-24; 187:2-25;

27   221:24-222:6; and 265:8-10. Ariosa has designated this transcript as “HIGHLY

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     DECLARATION OF PETER ROOT IN SUPPORT
     OF MOTION FOR PRELIMINARY INJUNCTION                                         Case No. 3:11-cv-06391-SI
          Case 3:11-cv-06391-SI Document 114-1 Filed 06/14/12 Page 3 of 6



 1   CONFIDENTIAL -- OUTSIDE ATTORNEYS’ EYES ONLY” under the Stipulated Protective

 2   Order. [FILED UNDER SEAL]

 3          5.      Attached as Exhibit 3 to this declaration is a true and correct copy of the cover

 4   page and selected excerpts of the deposition of Dr. Farideh Bischoff, Ariosa’s designated non-

 5   infringement expert, taken in the above-captioned action on May 24, 2012: Bischoff Dep. at

 6   32:17-22; 35:16-20; 36:3-10; 46:22-47:23; 47:25-48:24; 69:19-23; 77:8-14; 107:3-108:12; 116:3-

 7   14; 123:16-21; 140:2-13; 142:20-25; 143:22-144:4; 145:2-19; 146:9-18; 150:25-151:3; 151:11-

 8   22; 151:25-152:23; 156:18-157:6; 158:18-159:3; 178:2-179:21, and 179:25-180:19.

 9          6.      Attached as Exhibit 4 to this declaration is a true and correct copy of Exhibit 52 to

10   the Deposition of Dr. Farideh Bischoff: Excerpt from the Concise Dictionary of Modern

11   Medicine.

12          7.      Attached as Exhibit 5 to this declaration is a true and correct copy of Exhibit 53 to

13   the Deposition of Dr. Farideh Bischoff: Dorland’s Pocket Medical Dictionary, 28th Edition.

14          8.      Attached as Exhibit 6 to this declaration is a true and correct copy of Exhibit 54 to

15   the Deposition of Dr. Farideh Bischoff: U.S. Patent Application 2012/0058480 published March

16   8, 2012.

17          9.      Attached as Exhibit 7 to this declaration is a true and correct copy of the cover

18   page and selected excerpts of the deposition of Deposition of Dr. Eric R. Fearon, taken in the

19   above-captioned action on May 22, 2012: Fearon Dep. at 11:16-19; 16:10-12; 17:8-14; 17:15-16;

20   19:18-25; 21:18-22; 17:17-20; 17:21-24; 17:25-18:5; 18:6-10; 20:2-7; 90:3-91:10; 112:15-23;

21   134:3-5; 138:18-139:2; 174:20-175:6; 225:11:19; 225:20-21; and 225:23-226:10.

22          10.     Attached as Exhibit 8 to this declaration is a true and correct copy of Exhibit 60 to

23   the Deposition of Dr. Arnold Oliphant: Manuscript Accepted on January 23, 2012 in the

24   American Journal of Obstetrics and Gynecology and entitled: Non-invasive Prenatal Detection

25   and Selective Analysis of Cell-free DNA Obtained from Maternal Blood: Evaluation of Trisomy

26   21 and Trisomy 18.

27          11.     Attached as Exhibit 9 to this declaration is a true and correct copy of U.S. Patent

28   6,258,540 - Page 6; Column 2; Lines 6 through 10.

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     DECLARATION OF PETER ROOT IN SUPPORT
     OF MOTION FOR PRELIMINARY INJUNCTION                                        Case No. 3:11-cv-06391-SI
          Case 3:11-cv-06391-SI Document 114-1 Filed 06/14/12 Page 4 of 6



 1          12.     Attached as Exhibit 10 to this declaration is a true and correct copy of Exhibit 57

 2   to the Deposition of Dr. Farideh Bischoff: February 5, 2003 Article in Reproductive

 3   BioMedicine Online entitled: Detecting fetal DNA from dried maternal blood spots: another step

 4   towards broad scale non-invasive prenatal genetic screening and feasible testing.

 5          13.     Attached as Exhibit 11 to this declaration is a true and correct copy of Exhibit 56

 6   to the Deposition of Dr. Farideh Bischoff: Article in European Society of Human Reproduction

 7   and Embryology entitled: Cell-free fetal DNA and intact fetal cells in maternal blood circulation:

 8   implications for first and second trimester non-invasive prenatal diagnosis.

 9          14.     Attached as Exhibit 12 to this declaration is a true and correct copy of Exhibit 58

10   to the Deposition of Dr. Farideh Bischoff: Article in the American Association for Clinical

11   Chemistry entitled: Interlaboratory Comparison of Fetal Male DNA Detection from Common

12   Maternal Plasma Samples by Real-Time PCR.

13          15.     Attached as Exhibit 13 to this declaration is a true and correct copy of the cover

14   page and selected excerpts of the deposition of Dr. Ryan Sullivan, taken in the above-captioned

15   action on May 18, 2012: Sullivan Dep. at 71:17-72:3; 96:2-14; 99:25-100-24; 100:3-9; 108:11-

16   109:2; and 186:23-187:6. Ariosa has designated this transcript as “HIGHLY CONFIDENTIAL --

17   OUTSIDE ATTORNEYS’ EYES ONLY” under the Stipulated Protective Order. [FILED

18   UNDER SEAL]

19          16.     Attached as Exhibit 14 to this declaration is a true and correct copy of Exhibit 32

20   to the Deposition of John Stuelpnagel: February 11, 2012 e-mail from Ken Song to Michael

21   Minahan, Kellie Watson, and John Stuelpnagel. Ariosa has designated this document as

22   “HIGHLY CONFIDENTIAL -- OUTSIDE ATTORNEYS’ EYES ONLY” under the Stipulated

23   Protective Order. [FILED UNDER SEAL]

24          17.     Attached as Exhibit 15 to this declaration is a true and correct copy of Exhibit 37

25   to the Deposition of John Stuelpnagel: Tandem Diagnostics October 18, 2011 Venrock Diligence

26   Session at pages 18-19. Ariosa has designated this document as “HIGHLY CONFIDENTIAL --

27   OUTSIDE ATTORNEYS’ EYES ONLY” under the Stipulated Protective Order. [FILED

28   UNDER SEAL]

                                                      3
     DECLARATION OF PETER ROOT IN SUPPORT
     OF MOTION FOR PRELIMINARY INJUNCTION                                        Case No. 3:11-cv-06391-SI
          Case 3:11-cv-06391-SI Document 114-1 Filed 06/14/12 Page 5 of 6



 1          18.     Attached as Exhibit 16 to this declaration is a true and correct copy of the cover

 2   page and selected excerpts of Exhibit 33 to the Stuelpnagel Deposition: Tandem Diagnostics

 3   October 2011 Investor Presentation at pages 29, 30, and 45. Ariosa has designated this document

 4   as “HIGHLY CONFIDENTIAL -- OUTSIDE ATTORNEYS’ EYES ONLY” under the

 5   Stipulated Protective Order. [FILED UNDER SEAL]

 6          19.     Attached as Exhibit 17 to this declaration is a true and correct copy of Exhibit 35

 7   to the Stuelpnagel Deposition: May 19, 2011 e-mail from Bryan Roberts to Ken Song and John

 8   Stuelpnagel. Ariosa has designated this document as “HIGHLY CONFIDENTIAL -- OUTSIDE

 9   ATTORNEYS’ EYES ONLY” under the Stipulated Protective Order. [FILED UNDER SEAL]

10          20.     Attached as Exhibit 18 to this declaration is a true and correct copy of Exhibit 36

11   to the Deposition of John Stuelpnagel: October 17, 2011 e-mail from Todd Whitson to “All

12   Tandem.” Ariosa has designated this document as “HIGHLY CONFIDENTIAL -- OUTSIDE

13   ATTORNEYS’ EYES ONLY” under the Stipulated Protective Order. [FILED UNDER SEAL]

14          21.     Attached as Exhibit 19 to this declaration is a true and correct copy of Exhibit 23

15   to the Deposition of John Stuelpnagel: February 29, 2012 e-mail from Jennifer Bruursema to Ken

16   Song, Stacey Schack, Todd Whitson, and John Stuelpnagel with attachment (Harmony Prenatal

17   Test, 2012 Marketing Plan for USA Launch). Ariosa has designated this document as “HIGHLY

18   CONFIDENTIAL -- OUTSIDE ATTORNEYS’ EYES ONLY” under the Stipulated Protective

19   Order. [FILED UNDER SEAL]

20          22.     Attached as Exhibit 20 to this declaration is a true and correct copy of Exhibit 8 to

21   the Sullivan Deposition. This Exhibit 8 is selected portions of testimony given by Dr. Sullivan in

22   a previous case in which he testified as an economics expert. See Trial Tr. at 107:17-108:2.

23          23.     Attached as Exhibit 21 to this declaration is a true and correct copy of the cover

24   page and selected excerpts of Exhibit 28 to the Stuelpnagel Deposition: Positioning Workshop:

25   Executive Summary. Ariosa has designated this document as “HIGHLY CONFIDENTIAL --

26   OUTSIDE ATTORNEYS’ EYES ONLY” under the Stipulated Protective Order. [FILED

27   UNDER SEAL]

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                                                      4
     DECLARATION OF PETER ROOT IN SUPPORT
     OF MOTION FOR PRELIMINARY INJUNCTION                                        Case No. 3:11-cv-06391-SI
          Case 3:11-cv-06391-SI Document 114-1 Filed 06/14/12 Page 6 of 6



 1          24.     Attached as Exhibit 22 to this declaration is a true and correct copy of Exhibit 40

 2   to the Stuelpnagel Deposition: correspondence from Food and Drug Administration to Ariosa

 3   (then Tandem Diagnostics, Inc.). Ariosa has designated this document as “HIGHLY

 4   CONFIDENTIAL -- OUTSIDE ATTORNEYS’ EYES ONLY” under the Stipulated Protective

 5   Order. [FILED UNDER SEAL]

 6          25.     On May 16, 2012, I sent an email to Michael Ermer, counsel for Ariosa, requesting

 7   production of Ariosa’s agreement with LabCorp in time for the May 18 Sullivan Deposition. A

 8   true and correct copy of that email is attached to this declaration as Exhibit 23. Counsel for

 9   Ariosa did not respond to the request. I again asked for a copy of the Ariosa-LabCorp agreement

10   during the May 18 Sullivan deposition; counsel for Ariosa refused to produce the agreement on

11   the grounds that Dr. Sullivan had not reviewed the agreement and had not relied on it for

12   purposes of his analysis. See Exhibit 13 hereto (Sullivan Dep.) at 99:25-100-24.

13          26.     On May 22, 2012, I sent an email to counsel for Ariosa once again requesting a

14   copy of the Ariosa-LabCorp agreement. A true and correct copy of that email is attached to this

15   declaration as Exhibit 24. This document contains information that Ariosa has designated as

16   “HIGHLY CONFIDENTIAL -- OUTSIDE ATTORNEYS’ EYES ONLY” under the Stipulated

17   Protective Order. [FILED UNDER SEAL]. Ariosa’s counsel produced the Ariosa-LabCorp

18   agreement on May 23, 2012, during the Stuelpnagel Deposition.

19          I declare under penalty of perjury under the laws of the United States of America that the

20   foregoing is true and correct, and that this declaration was executed on June 5, 2012 in Palo Alto,

21   California.

22                                                 /s/ Peter Root
                                                   Peter Root
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     DECLARATION OF PETER ROOT IN SUPPORT
     OF MOTION FOR PRELIMINARY INJUNCTION                                        Case No. 3:11-cv-06391-SI
